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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNTIED STATES OF AMERICA,

                        Plaintiff,

v.
                                                            Case No. 12-20066-40-KHV

CARLOS GILCHRIST,

                        Defendant.

                                                ORDER

          By Order dated January 29, 2014, the court denied defendant’s motion to withdraw

his guilty plea (ECF doc. 1252).               Defendant has now filed a pro se motion for

reconsideration of that order (ECF doc. 1263).             The court denies the motion for

reconsideration.

          Grounds warranting a motion for reconsideration “include (1) an intervening

change in the controlling law, (2) new evidence previously unavailable, and (3) the need to

correct clear error or prevent manifest injustice.”1 Defendant has not met this standard for

relief.

          In his motion, defendant simply restates his arguments that there is a fair and just




1
 United States v. Christy, 739 F.3d 534, 539 (10th Cir. 2014) (quoting Servants of
Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir. 2000)).



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reason for withdrawal under the seven factors set out in United States v. Byrum.2 But

defendant sets forth no new information or law that suggests the court erred in concluding

that the balance of factors weighed against allowing withdrawal of the guilty plea.

Defendant also states that he is seeking relief under Fed. R. Crim. P. 32(b) and (d), but that

rule addresses sentencing and is not applicable here.

         Because defendant has not shown that the court erred in denying his motion to

withdraw, the motion for reconsideration is denied.

         Dated February 7, 2014, at Kansas City, Kansas.



                                               s/ James P. O=Hara
                                               James P. O=Hara
                                               U.S. Magistrate Judge




2
    567 F.3d 1255, 1264 (10th Cir. 2009).

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